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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

CORINE MANUEL,

 Plaintiff,                                        CASE NO.:

-vs-

SANTANDER CONSUMER USA, INC.,
d/b/a CHRYSLER CAPITAL, LLC,

 Defendant.
                                     /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, CORINE MANUEL, by and through the undersigned counsel,

and sues Defendant, SANTANDER CONSUMER USA, INC., d/b/a CHRYSLER CAPITAL,

LLC, and in support thereof respectfully alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices

Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                         INTRODUCTION

       1.     The TCPA was enacted to prevent companies like SANTANDER CONSUMER

USA, INC., d/b/a CHRYSLER CAPITAL, LLC from invading American citizen’s privacy and

prevent abusive “robo-calls.”

       2.     “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

L.Ed. 2d 881 (2012).

       3.     “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they


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force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

are far and away the biggest consumer complaint to the FCC with over 200,000 complaints each

year – around 60 percent of all the complaints…Some private analyses estimate that U.S.

consumers     received    approximately     2.4    billion   robocalls    per   month     in   2016.”

https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-robocalls-spoofing

                                 JURISDICTION AND VENUE

       5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014)

       8.      The alleged violations described herein occurred in Orange County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the




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judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                      FACTUAL ALLEGATIONS

       9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in Orange

County, Florida.

       10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

       11.     Plaintiff is an “alleged debtor.”

       12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       13.     Defendant is a corporation with its principal place of business located at 1601

Elm Street, Suite 800, Dallas, Texas 75201 and which conducts business in the State of Florida

through its registered agent, C T Corporation System located at 1200 South Pine Island Road,

Plantation, Florida 33324.

       14.     The debt that is the subject matter of this Complaint is a “consumer debt” as

defined by Florida Statute §559.55(6).

       15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).

       16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately one

hundred and fifty (150) times in an attempt to collect a debt. Due to the volume of calls received,

Plaintiff was unable to properly catalogue each and every call received by Defendant. Thus a

more adequate number of calls will be identified after a thorough review of Defendant’s records

and Plaintiff’s cellular telephone records.

       17.     Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

telephone calls.


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       18.     Plaintiff knows that some or all of the calls the Defendant made to Plaintiff’s

cellular telephone number were made using an “automatic telephone dialing system” which has

the capacity to store or produce telephone numbers to be called, using a random or sequential

number generator (including but not limited to a predictive dialer) or an artificial or prerecorded

voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer

calls”). Plaintiff will testify that she knew it was an autodialer because of the vast number of

calls she received, she heard a pause when she answered her phone before a voice came on the

line and she received prerecorded messages from Defendant.

       19.     Plaintiff believes the calls were made using equipment which has the capacity to

store numbers to be called and to dial such numbers automatically. Plaintiff received calls from

the Defendant and when she answered, no live agent was there. No one came to the line.

       20.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (407) ***-0641, and was the called party and recipient of Defendant’s calls.

       21.     Defendant placed an exorbitant number of automated telephone calls to Plaintiff’s

cellular telephone (407) ***-0641 in an attempt to collect on an alleged debt.

       22.     Upon receipt of the telephone calls from Defendant, Plaintiff’s called ID

identified the calls were being initiated from, but not limited to, the following telephone number:

(855) 563-5635.

       23.     On several occasions over the last four (4) years Plaintiff instructed Defendant’s

agent(s) to stop calling her cellular telephone.

       24.     As an example of the revocations, in or about September 2018, Plaintiff

communicated with Defendant from her aforementioned cellular telephone number about

payments and past due amounts. Plaintiff explained to Defendant that she was unable to sleep


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due to the constant called from Defendant. At that time, Plaintiff demanded Defendant’s agent to

cease calling her cellular telephone.

        25.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was made without the “express consent” of the Plaintiff.

        26.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was knowing and willful.

        27.     Despite actual knowledge of its wrongdoing, Defendant continued the campaign

of abuse, calling Plaintiff despite Plaintiff revoking any express consent Defendant may have

believed it had to call her aforementioned cellular telephone number.

        28.     As another example of the revocations, again, in or about November of 2018,

Plaintiff communicated with Defendant from her aforementioned cellular telephone number and

demanded Defendant’s agent to cease calling her cellular telephone.

        29.     Plaintiff’s repeated requests for the harassment to end were ignored.

        30.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s cellular telephone in

this case.

        31.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in this case, with no

way for the consumer, Plaintiff, or Defendant, to remove the number.

        32.     Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

        33.     Defendant has numerous other federal lawsuits pending against it alleging similar

violations as stated in this Complaint.


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       34.     Defendant has numerous complaints across the country against it asserting that its

automatic telephone dialing system continues to call despite requested to stop.

       35.     Defendant has had numerous complaints from consumers across the country

against it asking to not be called; however, Defendant continues to call the consumers.

       36.     Defendant’s corporate policy provided no means for Plaintiff to have her number

removed from Defendant’s call list.

       37.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

       38.     Not a single call placed by Defendant to Plaintiff were placed for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       39.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

       40.     From each and every call placed without consent by Defendant to Plaintiff’s cell

phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her right of

seclusion.

       41.     From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of her cellular telephone line and

cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s calls.

       42.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time. For

calls she answered, the time she spent on the call was unnecessary as she repeatedly asked for the

calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflected the unwanted calls. This also impaired


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the usefulness of these features of Plaintiff’s cellular phone, which are designed to inform the

user of important missed communications.

         43.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were

answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for unanswered

calls, Plaintiff had to waste time to unlock the phone and deal with missed call notifications and

call logs that reflected the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular phone, which are designed to inform the user of important missed

communications.

         44.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.

         45.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone where a voice message was left which occupied space in Plaintiff’s phone or network.

         46.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular phone and

her cellular phone services.

         47.    As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety and aggravation.

                                            COUNT I
                                     (Violation of the TCPA)

         48.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-seven

(47) as if fully set forth herein.



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        49.     Defendant willfully violated the TCPA with respect to Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that she wished for the calls to stop.

        50.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against SANTANDER CONSUMER USA, INC., d/b/a CHRYSLER CAPITAL, LLC

for statutory damages, punitive damages, actual damages, treble damages, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

        51.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-seven

(47) as if fully set forth herein

        52.     At all times relevant to this action Defendant is subject to and must abide by the

laws of the State of Florida, including Florida Statute § 559.72.

        53.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of his or her family with such frequency as can reasonably be

expected to harass the debtor or his or her family.

        54.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

her family.



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          55.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute § 559.77.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against SANTANDER CONSUMER USA, INC., d/b/a CHRYSLER CAPITAL, LLC

for statutory damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder

from further violations of these parts and any other such relief the court may deem just and

proper.

                                               Respectfully submitted,

                                               /s/ Octavio Gomez
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